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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

ENTERTAINMENT ONE UK
                                                      Case   No. l8-cv-04957
               Plaintiff,
                                                      Judge Thomas M. Durkin
v.
                                                      Magistrate Judge Maria Valdez
I7FLY20I1, et al.,

               Defendants.



                         SEALED TEMPORARY RESTRAINING ORDER

        THIS CAUSE being before the Court on Plaintiff Entertainment One UK Ltd.'s ("eOne"

or "PlaintifP') Ex Parte Motion for Entry of a Temporary Restraining Order, Including                a

Temporary Injunction, a Temporary Asset Restraint, and Expedited Discovery, and Motion for

Electronic Service of Process Pursuant to Fed. R. Civ. P. 4(fX3) (the "Motions") against the

defendants identified in Schedule A to the Amended Complaint and attached hereto (collectively,

the "Defendants") and using at least the online marketplace accounts identified in Schedule    A (the

"Online Marketplace Accounts"), and this Court having heard the evidence before           it   hereby

GRANTS Plaintiff     s   Motions in their entirety.

        This Court further finds that it has personal jurisdiction over the Defendants since the

Defendants directly target their business activities toward consumers        in the United     States,

including Illinois. Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet stores through which Illinois residents

can purchase products bearing unauthorized copies        of the PJ Masks Copyrighted        Designs

(including U.S. Copyright Registration Nos. VA 2-012-133,YA2-012-136,           VA 2-012-134,YA
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2-012-131, VA 2-012-135,YA2-012-137, andYA2-012-138) and/or using counterfeit versions

of the PJ MASKS Trademarks (a list of which is included in the below chart).

 Registration          Trademark             Regisfration          Goods and Services
  Number                                        Date
  4,815,385            PJ   MASKS            5ep.22,2015    For: Paper; cardboard; goods
                                                            made from paper or cardboard,
                                                            namely, boxes, cartons, storage
                                                            containers; photographic
                                                            products, namely, photographic
                                                            prints; printed matter, namely,
                                                            pamphlets, books, newspapers,
                                                            periodicals, magazines,
                                                            brochures, catalogues and
                                                            promotional pamphlets, all in the
                                                            field of children's entertainment;
                                                            book binding materials; sheet
                                                            music; telephone calling cards
                                                            and credit cards, without
                                                            magnetic coding;
                                                            chromolithographs; photographs;
                                                            pictures ; graphic representations;
                                                            manuals in the field of
                                                            instructional math; posters;
                                                            greeting cards; postcards; picture
                                                            cards; transfers and stickers;
                                                            photograph albums; collectors'
                                                            albums in the nature of stamp
                                                            albums; stationery products,
                                                            namely, envelopes; adhesive
                                                            tapes for household decoration
                                                            and stationery purposes; artists'
                                                            materials, namely, molds for
                                                            modeling clays; drawing,
                                                            painting and modelling goods,
                                                            namely, palettes for painting,
                                                            pencils for painting, modeling
                                                            clay, moulds for modelling clay;
                                                            drawing and painting
                                                            implements, namely, square
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                                                  rulers; paintbrushes; adhesives
                                                  and adhesive strips for stationery
                                                  or household purposes;
                                                  typewriters; offi ce requisites,
                                                  namely, rubber bands; printed
                                                  instructional. and teaching
                                                  material in the field of children's
                                                  education; diaries; calendars;
                                                  bookmarks; kitchen towels of
                                                  paper; paper towels; geographical
                                                  maps; maps; beer mats, namely,
                                                  coasters ofpaper or cardboard;
                                                  address stamps; loose-leaf
                                                 binders for office use; paper file
                                                 jackets; paper napkins; sheets of
                                                 reclaimed cellulose for wrapping;
                                                 filter paper; paper and cardboard
                                                 containers; paper and cardboard
                                                 pouches for packaging; paper and
                                                 cardboard bags for packaging;
                                                 absorbent sheets ofpaper for
                                                 foodstuff packaging; plastic bags,
                                                 film for packaging; printers'type;
                                                 printing blocks; adhesive tapes
                                                 for stationery or household
                                                 purposes; letter openers of
                                                 precious metal in class 016.


                                                 For: Clothing, namely, shirts,
                                                 ties, pants, sweaters, jackets,
                                                 coats, shorts, t-shirts, sweatshirts,
                                                 sweatpants, undershirts,
                                                 underwear, socks, pajamas, vests,
                                                 scaryes, gloves; footwear;
                                                 headwear; leather belts; bolo ties
                                                 with precious metal tips in class
                                                 02s.


                                                 For: Games, playthings and toys,
                                                 namely, role playing games,
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                                                  trivia and question and answer
                                                  games, card games, dice games,
                                                  hand held unit for playing video
                                                  games, hand held games      with
                                                  liquid crystal displays; electronic
                                                  and non-electronic puzzles and
                                                  puzzle game s, hand-held,
                                                  tabletop, and travel-size jigsaw
                                                  p:uzzles; playground balls for
                                                  games; dolls and toys, namely,
                                                  articulated and non-articulated
                                                 dolls, toy figures, modeled plastic
                                                 toy figurines, bendable toys and
                                                 action figures; stuffed, plush,
                                                 bean-bag and cloth toys; toy
                                                 costume masks; puppets;
                                                 corrugated playhouses ; playing
                                                 cards; roller-skates; toy scooters;
                                                 scale model toy vehicles; wooden
                                                 toy vehicles; diecast toy vehicles;
                                                 playing cards and card games;
                                                 gymnastic and sporting articles,
                                                 namely, horizontal bars;
                                                 decorations for Christmas trees,
                                                 except illumination articles and
                                                 confectionery; action skill games;
                                                 action figures and accessories
                                                 therefor; board games; card
                                                 games; children's multiple
                                                 activity toys; badminton sets;
                                                 balloons; basketballs; bath toys;
                                                 baseballs; beach balls; bean bag
                                                 dolls; toy building blocks;
                                                 bowling balls; chess sets;
                                                 Christmas stockings; collectable
                                                 toy figures; crib mobiles; crib
                                                 toys; tossing disc toys; dolls; doll
                                                 clothing; accessories for dolls;
                                                 doll playsets; electric action toys;
                                                 equipment sold as a unit for
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                                                  playing card games; fishing
                                                  tackle; golf balls; golf gloves;
                                                   golf ball markers; hand held unit
                                                   for playing electronic games;
                                                  hockey pucks; inflatable toys;
                                                  jump ropes; kites; magic tricks;
                                                  marbles; manipulative games;
                                                  mechanical toys; music box toys;
                                                  musical toys; parlor games; party
                                                  games; soft sculpture toys;
                                                  puppets; roller skates; rubber
                                                  action balls; skateboards; soccer
                                                  balls; spinning tops; squeeze
                                                  toys; stuffed toys; table tennis
                                                  tables; target games; teddy bears;
                                                  tennis balls; toy action figures;
                                                  toy bucket and shovel sets; toy
                                                  mobiles; toy vehicles; toy
                                                  scooters; toy cars; toy model
                                                  hobbycraft kits; toy figures; toy
                                                  banks; toy trucks; toy watches;
                                                  wind up toys; yo-yos in class
                                                  028.


5,348,145         PJ   MASKS        Dec.5,2017   For: Bleaching preparations and
                                                 other substances for laundry use,
                                                 namely laundry detergent;
                                                 cleaning preparations, polishing
                                                 preparations, degreasing
                                                 preparations for household
                                                 purposes and abrasive
                                                 preparations in the nature of
                                                 abrasive paste; soaps, namely
                                                  soaps for body care; perfuffiory,
                                                  essential oils, cosmetics, hair
                                                 lotions; dentifrices; aftershave
                                                 lotions; antiperspirants;
                                                 aromatherapy essential oils; baby
                                                 oil; baby wipes; bath gels; bath
                                                 powder; blush; body creams,
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                                                  lotions in the nature of lotions for
                                                  skin, and powders in the nature of
                                                  soap powders; breath fresheners;
                                                  bubble bath; eau de cologne;
                                                  deodorants, namely body
                                                  deodorants; powders, namely
                                                 perfumed powders; essential oils
                                                 for personal use; eye liner; eye
                                                  shadows; eyebrow pencils; face
                                                 powder; face creams; facial
                                                 lotions; face masks, namely
                                                 beauty masks; facial scrubs; air
                                                 fragrancing preparations for
                                                 household use; hair gels; hair
                                                 conditioners; hair shampoo; hair
                                                 mousse; hair cream; hair spray;
                                                 hand cream; hand lotions; soaps
                                                 for the hand; lip balm; lipsticks;
                                                 lipstick holders; lip gloss; liquid
                                                 soaps; make-up; mascara;
                                                 mouthwash; nail care
                                                 preparations; nail enamel; nail
                                                 hardeners; nail polish; perfumes;
                                                 pot-pourri; room scenters, namely
                                                 scented room sprays; shaving
                                                 creams; skin soap; talcum
                                                 powder; eaux de toilette; skin
                                                 creams; skin moisturisers; sun
                                                 blocking preparations; non-
                                                 medicated sun care preparations
                                                 in class 003.

                                                 For: Materials for dressings,
                                                 namely gavze; plasters, namely
                                                 medical plasters; portable hlled
                                                 medicine cases, namely first aid
                                                 kits; baby food; vitamins for
                                                 children; herb teas for medicinal
                                                 purposes; disinfectants for
                                                 sanitary purposes in class 005.
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                                                  For: Vehicles, namely, strollers;
                                                  apparatus for locomotion by land,
                                                  air or water, namely, airplanes;
                                                  bicycle parts included in this
                                                  class, namely, bicycle seats,
                                                  bicycle chains; perambulators;
                                                  safety seats for children for
                                                  vehicles; boats, in particular
                                                  rubber dinghies; air balloons in
                                                  the nature of vehicular balloons;
                                                  saddle covers for bicycles or
                                                  motorcycles; mechanical anti-
                                                  theft devices for vehicles;
                                                  shopping trolleys; rims for
                                                  bicycle wheels, chains, bells,
                                                  baskets adapted for bicycles,
                                                  handlebars, wheel hubs, dress
                                                  guards, pedals, pumps, frames,
                                                  saddles and pannier bags for
                                                  bicycles; direction indicators in
                                                  the nature of signals for vehicles,
                                                  in particular for bicycles; repair
                                                  outfits for inner tubes, namely
                                                  patches for repairing inner tubes;
                                                  luggage racks and saddle bags for
                                                  vehicles, in particular for two-
                                                  wheeled vehicles in the nature of
                                                  bicycles and motorcycles; horns,
                                                  in particular for automobiles;
                                                  carts; stroller covers; hub caps;
                                                  wheelchairs; rear view mirrors;
                                                  sleighs for transport purposes;
                                                  fitted seat covers for vehicles;
                                                  wheelbarrows; bicycle stands in
                                                  class 012.


                                                  For: Precious metals and their
                                                  alloys and goods of precious
                                                  metals or coated therewith
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                                                   included in this class, namely,
                                                  key rings, jewelry cases;
                                                  jewellery, precious stones;
                                                  horological and chronometric
                                                  instruments; alarm clocks;
                                                  bracelets; busts of precious metal;
                                                  pendants; clocks; earrings; jewel
                                                  cases of precious metal; jewelry
                                                  chains; key rings of precious
                                                  metal; lapel pins; necklaces;
                                                  necktie fasteners; non-monetary
                                                  coins; ornamental pins; rings;
                                                  stopwatches; tie clips; tie pins;
                                                  wall clocks; watch straps; watch
                                                  cases; watch chains; watches;
                                                  wedding bands; jewelry boxes
                                                  not of metal; decorative key fobs
                                                  not of metal in class 014.


                                                  For:    Furniture, mirrors, picture
                                                  frames; goods of wood, cork,
                                                  reed, cane, wicker, horn, bone,
                                                  ivory, whalebone, shell, amber,
                                                  mother-of-pearl, meerschaum and
                                                  substitutes for all these materials,
                                                  or of plastics, namely drawer
                                                  pulls; air mattresses for use when
                                                  camping; bassinets; beds;
                                                  benches being furniture;
                                                  bookcases; cabinets; chairs; coat
                                                  racks; computer furniture;
                                                  computer keyboard trays; cots;
                                                  couches; decorative mobiles;
                                                  desks; figurines and statuettes
                                                  made of bone, plaster, plastic,
                                                  wax, or wood; flagpoles;
                                                  footstools; hand fans; hand-held
                                                  mirrors; lawn furniture; love
                                                  seats; magazineracks;
                                                  mattresses ; non Christmas
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                                                  ornaments made of bone, plaster,
                                                  plastic, wax or wood; ottomans;
                                                  party ornaments of plastic;
                                                  pedestals; pillows; plant stands
                                                  made of wire and metal;
                                                  decorative wall plaques made of
                                                  plastic and wood; plastic name
                                                  badges being decorative articles;
                                                  plastic novelty license plates;
                                                  plastic cake decorations; sleeping
                                                  bags; tables; toy boxes; umbrella
                                                  stands; venetian blinds; wind
                                                  chimes being decorative articles
                                                  in class 020.

                                                  For: Brushes except paint
                                                  brushes, namely, hair brushes;
                                                  brush-making materials; articles
                                                  for cleaning pu{poses, namely,
                                                  cleaning cloths; steel wool;
                                                  unworked or semi-worked glass,
                                                  except glass used in building in
                                                  class 021.


                                                  For: Textiles and textile goods
                                                  included in this class, namely
                                                  textile table napkins; bed and
                                                  plastic table covers; afghans; bath
                                                  linen; blankets, namely bed
                                                  blankets; bed canopies; bed linen;
                                                  bed sheets; bed skirts; bed
                                                  spreads; blanket throws; calico;
                                                  children's blankets; cloth
                                                  coasters; cloth doilies; cloth
                                                  flags; cloth pennants; duvets;
                                                  curtains; fabric for flags; felt
                                                  pennants; golf towels; towels;
                                                  handkerchiefs; hooded towels;
                                                  household linen; kitchen towels;
                                                  pillowcases; plastic flags being
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                                                  decorative articles; plastic
                                                  pennants being decorative
                                                  articles; quilts; baby blankets;
                                                  silk blankets; table linen; textile
                                                  table napkins; textile place mats;
                                                  table napkins of textile; throws;
                                                  face cloths in class 024.


                                                  For: Carpets; rugs; car mats,
                                                  namely floor mats; bath mats;
                                                  gymnastic mats; plastic floor
                                                  coverings; wall hangings not of
                                                  textile; wallpaper of textile in
                                                  class 027.


                                                  For: Jellies, jams, compotes;
                                                  eggs; milk; milk products
                                                  excluding ice cream, ice milk and
                                                  frozenyogurt; edible oils and fats
                                                  in class 029.
                                                  For: Tea; cocoa; sugar; rice;
                                                  tapioca; sago; artificial coffee;
                                                  flour and preparations made from
                                                  cereals, namely cereal bars;
                                                  bread; pastry; confectionery,
                                                  namely chocolate; ices; honey;
                                                  treacle; yeast, baking-powder;
                                                  salt; mustard; vinegar; sauces as
                                                  condiments, namely hot sauce;
                                                  spices in class 030.


                                                  For: Product merchandising for
                                                  others; sales promotion, for
                                                  others, in particular marketing
                                                  and promotion of goods and
                                                  services of all kinds, including
                                                  via online portals; retail store
                                                  services provided via the internet
                                                  and other computer and
                                                  electronic communications
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                                                  networks featuring downloadable
                                                  pre-recorded audio, audiovisual,
                                                  musical, multimedia and video
                                                  content in class 035.


                                                  For: Audio and video
                                                  broadcasting services provided
                                                  via the internet; audio
                                                  broadcasting; audio, video and
                                                  multimedia in the nature of radio
                                                  broadcasting via the internet and
                                                  digital and wireless
                                                  communications networks;
                                                  broadcasting of motion picture
                                                  films via the internet;
                                                  broadcasting of teleshopping
                                                  programs; transmission of videos,
                                                  movies, pictures, images, text,
                                                  photos, games, user generated
                                                  content in the nature of data,
                                                  audio content, and information
                                                  via the internet; video
                                                  broadcasting; chat room services
                                                  for social networking; computer
                                                  aided transmission of messages,
                                                  data and images; delivery of
                                                  digital music by wireless
                                                  communication networks,
                                                  electronic transmission;
                                                  multimedia messaging services;
                                                  providing internet chatrooms and
                                                  internet forums in the field of
                                                  music; streaming audio and video
                                                  material on the internet;
                                                  transmission of data, audio, video
                                                  and multimedia files;
                                                  transmission and distribution of
                                                  data or audiovisual images via a
                                                  global computer network or the
                                                  internet; transmission of greeting


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                                                     cards online; webcasting services
                                                     in class 038.

5,183,889         PJ   MASKS           April   18,   For: Scientific, nautical,
                                           20t7      surveying, photographic,
                                                     cinematographic, optical,
                                                     weighing, measuring, signaling,
                                                     checking and supervision, life-
                                                     saving and teaching apparatus
                                                     and instruments, namely,
                                                     microscopes, cameras, video
                                                     cameras, scales, graduated rulers;
                                                     fi re-extinguishing apparatus;
                                                     apparatus for recording,
                                                     transmission or reproduction of
                                                     sound or images; magnetic data
                                                     carriers and recording discs
                                                     featuring music, children's
                                                     entertainment, television
                                                     programs for children; data-
                                                     processing equipment, namely,
                                                     data processors and computers;
                                                     musical sound recordings and
                                                     sound and video recordings
                                                     featuring music, children's
                                                     entertainment, television
                                                     programs for children;
                                                     downloadable ring tones, music,
                                                     mp3, graphic and video files
                                                     featuring music, children's
                                                     entertainment, televi sion
                                                     programs for children for
                                                     wireless communications
                                                     devices; programs for computer
                                                     games; video games software;
                                                     computer games programs
                                                     downloaded via the internet
                                                     software; video game programs
                                                     stored on cartridges, floppy discs,
                                                     cd-roms, cassettes, tapes and mini


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                                                  discs; compact disc players;
                                                  audio-video compact discs
                                                  featuring music, children's
                                                  entertainment, television
                                                  programs for children; dvd
                                                  players; recorded computer
                                                  software for wireless
                                                  transmission of data and images;
                                                  downloadable computer
                                                  programs for wireless
                                                  transmission of data and images;
                                                  exposed ctrmera,
                                                  cinematographic, and slide fi.lms;
                                                  cassette players; magic lanterns;
                                                  gramophone records featuring
                                                  music, children's entertainment;
                                                  life j ackets; sound carriers,
                                                  namely, CDs, DVDs, and Mp3
                                                  files, featuring music, children's
                                                  entertainment, television
                                                  programs for children; portable
                                                  stereos; videotapes featuring
                                                  music, children's entertainment,
                                                  television programs for children;
                                                  video cassettes featuring music,
                                                  children's entertainment,
                                                  television programs for children;
                                                  video recorders; video game
                                                  cartridges; mechanisms for coin-
                                                  operated apparatus; cash
                                                  registers; calculating machines in
                                                  class 9.


                                                  For: Animal skins, hides; whips,
                                                  harness and saddlery; leather and
                                                  imitations of leather in class 18.

                                                  For: Education, namely, classes,
                                                  courses, seminars, and workshops
                                                  in the field of animation, math,
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                                                  science, computer programming;
                                                  providing of training in the field
                                                  of animation, math, science,
                                                  computer programming;
                                                  entertainment, namely, live
                                                  musical performances, a series of
                                                  television programs in the field of
                                                  children's entertainment,
                                                  basketball competitions; sporting
                                                  and cultural activities, namely,
                                                  basketball competitions, golf
                                                  tournaments, art exhibitions;
                                                  editing and production of film,
                                                  television, radio and multimedia
                                                  programs, radio entertainment
                                                  namely, radio programs featuring
                                                  performances by a fictional
                                                  character; arranging and
                                                  conducting of cultural,
                                                  entertainment and sporting
                                                  events, namely, live musical
                                                  performances, arranging of
                                                  concerts; photograplry; providing
                                                  recreation facilities in class 41.
5,461,563         PJ   MASKS         May 8,2018   For: optical goods, namely,
                                                  sunglasses and eyeglasses in class
                                                  9.


                                                  For: trunks and travelling bags;
                                                  all-purpose carrying bags, purses,
                                                  umbrellas, parasols, walking
                                                  sticks; rucksacks; luggage;
                                                  luggage tags; overnight bags;
                                                  change purses; satchels; tote
                                                  bags; waist pouches; wallets in
                                                  class 18.
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4,986,001                              June 28,   For: Cleaning preparations for the
                                         2016     teeth; dentifrices; dentifrices in
                                                  the form of chewing gum; non-
                                                  medicated mouthwashes; teeth
                                                  cleaning lotions; tooth paste;
                                                  fragrance preparations; perfumes;

              @w                                  toilet waters; shower gels; soap
                                                  for personal use; liquid soaps;
                                                  bath oil; bath salts; bubble bath;
                                                  foam bath; body sprays;
                                                  deodorants for personal use; after
                                                  sun creams; baby lotions; baby
                                                  powders; body creams; cold
                                                  creams; day skin creams; face
                                                  creams; hand creams; lip balm;
                                                  skin moisturisers; skin creams;
                                                  sun screen; sun-block lotions;
                                                  sunscreen creams; waterproof
                                                  sunscreen; baby shampoo;
                                                  shampoos; soap powder; shoe
                                                  polish; air fragrancing
                                                  preparations in class 003.


                                                  For: Downloadable electronic
                                                  publications, namely newsletters,
                                                  magazines, in the field of
                                                  children's entertainment;
                                                  electronic publications, namely
                                                  newsletters, magazines, in the
                                                  field of children's entertainment,
                                                  recorded on computer media;
                                                  downloadable musical sound
                                                  recordings; downloadable
                                                  publications, namely, newsletters,
                                                  magazines, in the field of
                                                  children's entertainment; video
                                                  disks and video tapes with
                                                  recorded animated cartoons;
                                                  animated fi lms featuring
                                                  children's entertainments; audio
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                                                  recordings featuring songs and
                                                  movie soundtracks; audio visual
                                                  recordings featuring children's tv
                                                  series and movies; compact discs
                                                  featuring music; downloadable
                                                  digital music provided from a
                                                  computer database or the internet;
                                                  downloadable digital music
                                                  provided from mp3 internet web
                                                  sites; downloadable graphics for
                                                  mobile phones; downloadable
                                                  image files containing animated
                                                  cartoon characters; downloadable
                                                  music files; electronic
                                                  publications recorded on
                                                  computer media, namely
                                                  newsletters, magazines, in the
                                                  field of children's entertainment;
                                                  motion picture films about
                                                  animated children characters;
                                                  audio recordings featuring music;
                                                  musical recordings in the form of
                                                  discs; musical video recordings;
                                                  pre-recorded DVDs featuring
                                                  music; pre-recorded video tapes
                                                  featuring animated cartoon
                                                  movies; pre-recorded video disk,
                                                  tapes, featuring animated cartoon
                                                  movies; DVDs featuring recorded
                                                  animated cartoon movies;
                                                  downloadable weekly
                                                  publications in electronic form
                                                  from the intemet, namely
                                                  newsletters, magazines, in the
                                                  field of animated cartoons;
                                                  computer game software
                                                  downloadable from a global
                                                  computer network; computer
                                                  game software; children's
                                                  educational software; computer
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                                                  programs for video and computer
                                                  games; games software; video
                                                  and computer game programs;
                                                  computer memories; blank USB
                                                  flash drives; apparatus for
                                                  reproduction of sound; digital
                                                  audio players; ear phones;
                                                  headsets for computers,
                                                  telephones; headphones; chains
                                                  for sunglasses; frames for
                                                  sunglasses; clip-on sunglasses;
                                                  bicycle helmets; protection
                                                  helmets for sports; riding
                                                  helmets; sports helmets; cyclists'
                                                  glasses; glasses for sports;
                                                  goggles for sports; ski goggles;
                                                  computer game software for use
                                                  on mobile and cellular phones in
                                                  class 009.


                                                  For: Graphic prints; comic
                                                  magazines; general feature
                                                  magazines; printed periodicals in
                                                  the field of cartoons; bags,
                                                  envelopes, and pouches ofpaper
                                                  or plastics, for packaging; ball
                                                  pens; cases for pencils; cases for
                                                  pens; colour pencils; felt pens;
                                                  ink pens; pen holders; pen cases;
                                                  pen boxes; pens; roller ball pens;
                                                  correcting pencils; erasers; ink
                                                  erasers; pencil erasers; albums for
                                                  stickers; photo albums; scrap
                                                  books; book covers; birthday
                                                  books; baby books; drawing
                                                  books; books for children;
                                                  painting books; picture books;
                                                  pop-up children's books;
                                                  children's books incorporating an
                                                  audio component; dinner mats,
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                                                  namely, place mats of cardboard;
                                                  dinner mats, namely, place mats
                                                  of paper; disposable napkins;
                                                  drying towels of paper; facial
                                                  tissue; hand towels of paper;
                                                  kitchen paper; mats of paper for
                                                  drinking glasses; paper banners;
                                                  paper face towels; paper hand-
                                                  towels; paper napkins; paper
                                                  place mats; paper serviettes;
                                                  paper table covers; paper table
                                                  linen; paper table mats; paper
                                                  table napkins; paper tissues;
                                                  paper towels; disposable paper
                                                  wipes not impregnated with
                                                  chemicals or compounds;
                                                  placards ofpaper; place cards;
                                                  pocket handkerchiefs of paper;
                                                  serviettes of paper; tissues of
                                                  paper; towels of paper in class
                                                  016.


                                                  For: Leather and imitations of
                                                  leather; animal skins, hides;
                                                  trunks and travelling bags;
                                                  umbrellas; parasols; walking
                                                  sticks; whips, harness and
                                                  saddlery; beach umbrellas;
                                                  umbrellas for children; baby
                                                  backpacks; belt bags; briefcases;
                                                  carryalls; duffle bags; hunters'
                                                  game bags; handbags; holdalls;
                                                  iufant carriers worn on the body;
                                                  leather bags; leather cases;
                                                  luggage; purses; rucksacks;
                                                  schoolbags; sports bags;
                                                  suitcases; travel bags in class
                                                  018.




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                                                  For: Household or kitchen
                                                  containers; combs and bath
                                                  sponges; brushes except paint
                                                  brushes, namely hair brushes;
                                                  articles for cleaning purposes,
                                                  namely cleaning cloth; glassware,
                                                  porcelain and earthenware,
                                                  namely beverage glassware,
                                                  mugs; bath brushes; drinking
                                                  straws; drinking glasses; plastic
                                                  cups; dental floss; tooth brushes;
                                                  electric toothbrushes in class 021.


                                                  For:     Textiles and textile goods,
                                                  namely textile fabrics for the
                                                  manufacture of clothing; bed
                                                  covers and table covers in the
                                                  nature of textile tablecloths,
                                                  plastic table covers; hand towels
                                                  of textile; individual place mats
                                                  made of textile; kitchen towels;
                                                  plastic place mats; serviettes of
                                                  textile; plastic table covers; tea
                                                  towels; textile table napkins;
                                                  textile place mats; vinyl place
                                                  mats; bed blankets; bed covers;
                                                  bed sheets; children's blankets;
                                                  coverlets; covers for cushions;
                                                  cushion covers; mattress covers;
                                                  pillow cases; quilts; sleeping bag
                                                  liners; traveling rugs; travelling
                                                  blankets; bath linen, except
                                                  clothing; beach towels; bath
                                                  towels; children's towels; hooded
                                                  towels; large bath towels in class
                                                  024.

                                                  For: Headwear; bathing caps;
                                                  caps with visors; golf caps; rain
                                                  hats; sun hats; swimming caps;
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                                                   clothing, namely t-shirts, j ackets,
                                                   dresses; anoraks; athletic
                                                   clothing, namely, shirts, pants,
                                                  jackets, footwear, hats and caps,
                                                   athletic uniforms; babies'
                                                   clothing, namely romper suits;
                                                   bath robes; bathing costumes;
                                                   beach clothes, namely bathing
                                                   costumes, bathings shorts;
                                                   bikinis; blouses; blousons; body
                                                   suits; boxer shorts; briefs; capes;
                                                   cloaks; coats; dresses; gowns;
                                                  jeans; knickers; knitwear, namely
                                                   knitwear j ackets; nightwear;
                                                   overalls; overcoats; pants;
                                                   pyjamas; ponchos; rain coats;
                                                   skirts; socks; sportswear, namely,
                                                  jackets, jerseys, pants, shirts,
                                                   vests, singlets, coats, shorts,
                                                   sweatshirts, t-shirts; stockings;
                                                   sweatshirts; t-shirts; underwear;
                                                   wind coats; shoes; sandals; rain
                                                   boots; sports shoes in class 025.


                                                  For:    Water wings; swimming
                                                  belts; swimming boards;
                                                  amusement park rides; action
                                                  figure toys; action toys, namely
                                                  electronic action toys; baby
                                                  rattles; baby swings; baby
                                                  playthings, namely baby multiple
                                                  activity toys; toy namely battery-
                                                  powered computer game with
                                                  LCD screen; video game
                                                  apparatus, namely video game
                                                  machines, video game joysticks;
                                                  electronic hand-held game units;
                                                  games adapted for use with
                                                  television receivers; hand-held
                                                  electronic game consoles;
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                                                  handheld computer game
                                                  consoles; games and playthings,
                                                  namely dolls; building games;
                                                  board games; card games; balls
                                                  for games; boards for playing
                                                  board games; portable games
                                                  with liquid crystal displays in
                                                  class 028.


                                                   For: Meat, fish, poultry and
                                                   game, not live; meat extracts;
                                                  preserved, frozen, dried and
                                                   cooked fruits and vegetables;
                                                  jellies, jams, compotes; eggs;
                                                  milk; milk products excluding ice
                                                   cream, ice milk and frozen
                                                  yogurt; edible oils and fats in
                                                  class 029.


                                                  For: Coffee; tea; cocoa; sugar;
                                                  rice; tapioca; sago; artificial
                                                  coffee; flour and preparations
                                                  made from cereals, namely,
                                                  breakfast cereals; bread; pastry;
                                                  confectionery, namely candy;
                                                  ices; honey; treacle; yeast,
                                                  baking-powder; salt; mustard;
                                                  vinegar; sauces being
                                                  condiments; spices; ice in class
                                                  030.


                                                  For:    Beers; mineral and
                                                  aerated waters and other non-
                                                  alcoholic beverages, namely soft
                                                  drinks; fruit beverages and fruit
                                                  juices; syrups and other
                                                  preparations for making
                                                  beverages, namely   fruit drinks in
                                                  class 032.
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4,980,494                              June 21,   For: Materials for dressings,
                                           20r6   namely, gavze; plasters, namely,
                tu taJ
               ,,e,                               medical plasters; portable filled
               ffi
              IT                                  medicine cases, namely, first aid
                                                  kits; baby food; vitamins for
               dre
                         ww
                                                  children; herb teas for medical
              zfu
              W                                   purposes; disinfectants for
                                                  sanitary purposes in class 005.


                                                  For: Tableware, namely, knives,
                                                  forks, spoons; cutlery in class
                                                  008.


                                                  For: Vehicles, namely, strollers,
                                                  bicycles; apparatus for
                                                  locomotion by land, air or water,
                                                  namely, go-carts, boats; bicycles
                                                  and parts therefor included in this
                                                  class, namely, bicycle seats,
                                                  bicycle chains; scooters;
                                                  perambulators; safety seats for
                                                  children for vehicles; boats, in
                                                  particular rubber dinghies;
                                                  trailers being vehicles; air
                                                  balloons in the nature of
                                                  vehicular balloons; boats; side
                                                  cars; saddle covers for bicycles or
                                                  motorcycles; tricycles ;
                                                  mechanical anti-theft devices for
                                                  vehicles; shopping trolleys;
                                                  electric vehicles, namely, cars;
                                                  rims for bicycle wheels, chains,
                                                  bells, baskets, handlebars, hubs,
                                                  dress guards, pedals, pumps,
                                                  frames, tires, saddles and pannier
                                                  bags for bicycles; direction
                                                  indicators for vehicles, in
                                                  particular for bicycles; luggage
                                                  racks and saddle bags for
                                                  vehicles, in particular for two-


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                                                  wheeled vehicles; horns, in
                                                  particular for automobiles; carts;
                                                  motorcycles and mopeds; stroller
                                                  covers; hub caps; tires, solid, for
                                                  vehicle wheels; wheelchairs; rear
                                                  view mirrors; sleighs for
                                                  transport purposes; snowmobiles;
                                                  fitted seat covers for vehicles;
                                                  wheelbarrows; bicycle stands in
                                                  class 012.


                                                  For:    Precious metals and their
                                                  alloys namely, key rings, jewelry
                                                  cases; jewellery, precious stones;
                                                  horological and chronometric
                                                  instruments; alarm clocks;
                                                  bracelets; busts of precious metal;
                                                  pendants; clocks; earrings; jewel
                                                  cases of precious metal; jewelry
                                                  chains; key rings of precious
                                                  metal; lapel pins; necklaces;
                                                  necktie fasteners; non-monetary
                                                  coins; ornamental pins; rings;
                                                  stopwatches; tie clips; tie pins;
                                                  wall clocks; watch straps; watch
                                                  cases; watch chains; watches;
                                                  wedding bands; jewelry boxes
                                                  not of metal; key fobs not   of
                                                  metal in class 014.


                                                  For: Furniture, mirrors, picture
                                                  frames; air mattresses for use
                                                  when camping; bassinets; beds;
                                                  benches being furniture;
                                                  bookcases; cabinets; chairs; coat
                                                  racks; computer fumiture;
                                                  computer keyboard trays; cots;
                                                  couches; decorative mobiles;
                                                  desks; figurines and statuettes
                                                  made of bone, plaster, plastic,
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                                                  wax, or wood; flagpoles;
                                                  footstools; hand fans; hand-held
                                                  mirrors; lawn furniture; love
                                                  seats; magazine racks;
                                                  mattresses; non Christmas
                                                  ornaments made of bone, plaster,
                                                  plastic, wax or wood; ottomans;
                                                  party ornaments of plastic;
                                                  pedestals; pillows; plant stands
                                                  made of wire and metal;
                                                  decorative wall plaques made of
                                                  plastic and wood; plastic name
                                                  badges being decorative articles;
                                                  plastic novelty license plates;
                                                  plastic cake decorations; sleeping
                                                  bags; tables; toy boxes; umbrella
                                                  stands; venetian blinds; wind
                                                  chimes being decorative articles
                                                  in class 020.

                                                  For: Carpets; rugs; car mats,
                                                  namely, floor mats; bath mats;
                                                  gymnastic mats; plastic floor
                                                  coverings; wall hangings not of
                                                  textile in class 027.

                                                  For: Product merchandising for
                                                  others; sales promotion, for
                                                  others, in particular marketing
                                                  and promotion of goods and
                                                  services of all kinds, including
                                                  via online portals; retail store
                                                  services provided via the internet
                                                  and other computer and
                                                  electronic communications
                                                  networks, featuring audio,
                                                  audiovisual, musical, multimedia
                                                  and video content in class 035.
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                                                  For: Audio and video
                                                  broadcasting services provided
                                                  via the internet; audio
                                                  broadcasting; audio, video and
                                                  multimedia broadcasting via the
                                                  internet and digital, and wireless
                                                  communications networks ;
                                                  broadcasting of motion picture
                                                  films via the internet;
                                                  broadcasting of teleshopping
                                                  programs; transmission of videos,
                                                  movies, pictures, images, text,
                                                  photos, games, user-generated
                                                  content, audio content, and
                                                  information via the internet;
                                                  video broadcasting; chat room
                                                  services for social networking;
                                                  computer aided transmission of
                                                  messages, data and images;
                                                  delivery of digital music by
                                                  wireless communication
                                                  networks, electronic
                                                  transmission; multimedia
                                                  messaging services; providing
                                                  internet chatrooms and internet
                                                  forums; streaming audio and
                                                  video material on the internet;
                                                  transmission of data, audio, video
                                                  and multimedia files;
                                                  transmission and distribution of
                                                  data or audiovisual images via a
                                                  global computer network or the
                                                  internet; transmission of greeting
                                                  cards online; webcasting services
                                                  in class 038.

                                                  For: Sporting and cultural
                                                  activities, namely, organizing
                                                  sports tournaments; editing and
                                                  production of film, television,
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                                                               radio programs; radio
                                                               entertainment editing and
                                                               production; arranging and
                                                               conducting of cultural,
                                                               entertainment and sporting
                                                               events, namely, youth sports
                                                               programs; live musical
                                                               performances by a musical group;
                                                               arranging of concerts;
                                                               photographing; providing
                                                               recreation facilities in class 041.



       This Court also finds that issuing this Order without notice pursuant to Rule 65(b)(1) of

the Federal Rules of Civil Procedure is appropriate because Plaintiff has presented specific facts

in the Declaration of Niall Trainor [15], paragraphs 26-29, and the Declaration of Justin R. Gaudio

fl4],paragraphs 5-8, in support of the Motion for Temporary Restraining Order and accompanying

evidence clearly showing that immediate and irreparable injury, loss, or damage will result to the

movant before the adverse party can be heard in opposition. Specifically, in the absence of an ex

parte Order, Defendants could and likely would modify registration data and content, and move

any assets from accounts in U.S.-based financial institutions, including PayPal accounts, to

offshore accounts.    Id. As other courts have recog nized, proceedings          against those who

deliberately traffic in counterfeit merchandise are often useless   if notice is given to the adverse

party. Accordingly, this Court orders that:

1.     Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

       and all persons acting for, with, by, through, under or in active concert with them be

       temporarily enjoined and restrained from:

       a.   using the PJ MASKS Trademarks or any reproductions, counterfeit copies or colorable

            imitations thereof   in any manner in    connection with the distribution, marketing,


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         advertising, offering for sale, or sale of any product that is not a genuine PJ Masks

         product or not authorized by eOne to be sold in connection with the PJ MASKS

         Trademarks;

    b. reproducing, distributing copies of, making derivative works of, or publicly displaying

         the PJ Masks Coplrighted Designs in any manner without the express authorization         of

         eOne;

    c.   passing   off   inducing, or enabling others to sell or pass off any product as a genuine PJ

         Masks product or any other product produced by eOne, that is not eOne's or not

         produced under the authorization, control or supervision of eOne and approved by eOne

         for sale under the PJ MASKS Trademarks andlor the PJ Masks Copyrighted Designs;

    d.   committing any acts calculated to cause consumers to believe that Defendants'

         Unauthorized PJ Masks Products are those sold under the authorization, control or

         supervision of eOne, or are sponsored by, approved by, or otherwise connected with

         eOne;

         further infringing the PJ MASKS Trademarks and/or the PJ Masks Copyrighted

         Designs and damaging eOne's goodwill; and

         manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

         storing, distributing, returning, or otherwise disposing of, in any manner, products or

         inventory not manufactured by or for eOne, nor authorized by eOne to be sold or

         offered for sale, and which bear any eOne trademark, including the PJ MASKS

         Trademarks, or any reproductions, counterfeit copies or colorable imitations thereof

         and/or which bear the PJ Masks Copyrighted Designs.




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2.       Defendants and any third party with actual notice of this Order who is providing services

         for any of the Defendants, or in connection with any of the Defendant Internet Stores,

         including, without limitation, any online marketplace platforms such as iOffer, eBay,

         AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, sponsored search engine or ad-word

         providers, credit cards, banks, merchant account providers, third party processors and other

         payment processing service providers, and Internet search engines such as Google, Bing,

         and Yahoo (collectively, the "Third Party Providers") shall, within five (5) business days

         after receipt of such notice, provide to eone expedited discovery, including copies of all

         documents and records in such person's or entity's possession or control relating to:

         a. the identities and locations of       Defendants, their agents, servants, employees,

              confederates, attorneys, and any persons acting in concert or participation with them,

              including all known contact information, including any and all associated e-mail

              addresses;

         b. the nature of Defendants' operations and all associated sales, methods of payment for

              services and financial information, including, without limitation, identifying

              information associated with the Online Marketplace Accounts and Defendants'

              financial accounts, as well as providing a full accounting of Defendants' sales and

              listing history related to their respective Online Marketplace Accounts;

         c.   Defendants' Online Marketplace Accounts;

         d.   Any other online marketplace accounts registered by Defendants; and

         e.   any financial accounts owned or controlled by Defendants, including their agents,

              servants, employees, confederates, attorneys, and any persons acting       in concert or

              participation with them, including such accounts residing with or under the control   of


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              any banks, savings and loan associations, payment processors or other financial

              institutions, including, without limitation, PayPal, Alipay, Amazon Pay, or other

              merchant account providers, payment providers, third party processors, and credit card

              associations (e.g., MasterCard and VISA).

a
J.       Upon eOne's request, those in privity with Defendants and those with notice of the

         injunction, including the Third Party Providers as defined in Paragraph 2, shall within five

         (5) business days after receipt ofsuch notice:

         a.   disable and cease providing services being used by Defendants, currently or in the

              future, to engage in the sale of goods using the PJ MASKS Tradeniarks and/or which

              bear the PJ Masks Copyrighted Designs;

         b.   disable and cease displaying any advertisements used by or associated with Defendants

              in connection with the sale of counterfeit and infringing goods using the PJ MASKS

              Trademarks and/or which bear the PJ Masks Copyrighted Designs; and

         c. take all steps necessary to prevent links to the Online Marketplace   Accounts identified

              on Schedule A from displaying in search results, including, but not limited to, removing

              links to the Online Marketplace Accounts from any search index.

4.       Defendants and any persons in active concert or participation with them who have actual

         notice of this Order shall be temporarily restrained and enjoined from transferring or

         disposing of any money or other of Defendants' assets until further ordered by this Court.

5.       Any Third Party Providers, including PayPal, Inc. ("PayPal"), Alipay, Wish.com,          and

         Amazon Pay, shall, within two (2) business days of receipt of this Order, for any Defendant

         or any of the Online Marketplace Accounts:




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            locate   all accounts and funds      connected   to   Defendants   or   Defendants' Online

            Marketplace Accounts, including, but not limited to, any PayPal, Alipay, Wish.com,

            and/or Amazon Pay accounts connected to the information listed in Schedule A hereto,

            the e-mail addresses identified in Exhibit 3 to the Declaration    ofNiall Trainor, and any

            e-mail addresses provided for Defendants by third parties; and

            restrain and enjoin any such accounts or funds that are not U.S. based from transferring

            or disposing of any money or other of Defendants' assets until further ordered by this

            Court.

6.       eOne may provide notice     of these proceedings to Defendants, including notice of the

         preliminary injunction hearing and service of process pursuant to Fed. R. Civ. P. 4(0(3),

         by electronically publishing a link to the Amended Complaint, this Order and other relevant

         documents on a website and by sending an e-mail to the e-mail addresses identified in

         Exhibit 3 to the Declaration of Niall Trainor and any e-mail          addresses provided for

         Defendants by third parties that includes a link to said website. The Clerk of the Court is

         directed to issue a single original summons in the name          of "17fly2011 and all   other

         Defendants identified in the Amended Complaint" that shall apply to all Defendants. The

         combination of providing notice via electronic publication and e-mail, along with any

         notice that Defendants receive from payment processors, shall constitute notice reasonably

         calculated under all circumstances to apprise Defendants of the pendency of the action and

         afford them the opportunity to present their objections.

7.       Plaintiffs Amended Complaint      [1]    and Exhibits    I   and 2 thereto U1-11 and   [l-2],
         Schedule A to the Complaint [10] and the Amended Complaint [11-3], Exhibit 3 [16] to




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         the Declaration of Niall Trainor, and this Order shall remain sealed until further ordered

         by this Court.

8.       eOne shall deposit with the Court Ten Thousand Dollars ($10,000.00), either cash or surety

         bond, as security, which amount was determined adequate for the payment of such damages

         as any person may be entitled to recover as a result of a   wrongful restraint hereunder.

9.       Any Defendants that are subject to this Order may appear and move to dissolve or modifu

         the Order on two days' notice to eOne or on shorter notice as set by this Court.

10.      This Temporary Restraining Order without notice is entered       utfjl!   A.M. on Julyif,fi-,

         2018, and shall remain in effect for fourteen (14) days.




                                              4-uU
                                               Thomas M. Durkin
                                               United States District Judge




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                                 Entertainment One UK ttd. v.L7fly20ll., et al.
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                                              Schedule A
No.   Defendant Name       / alias                        No.    Defendant Name      / etias
  7   L7flv2O1.1.                                            2   2theLimit   LLC

  3   A Partv Store                                         4    abbros
  5   Albrev Tov Co..Ltd                                     6   All Nieht Revelrv Store
  7   Angel Baby's House                                     8   Anna's Partv Store
  9   ARING GOGOGO Store                                   10    baby duo mi baby house Store
 71   Babvtov Store                                        12    babytoygift
 13   BB life Store                                        74    BBYTOYSHOUSE Store
 15   BeautyCentral                                        t6    Beijing Shunda trade Co., Ltd.
 77   BilidiCo.,Ltd. Store                                 18    BOOM TOY Store
 19   Burst Starter                                        20    buv20L124
 2L   candvtrees                                           22    Chagar House Store
 23   Children00T Store                                    24    Children's factory Store
 25   Children's Tov Park Store                            26    Children's toy store Store Store
 27   Coser World Store                                    28    daii18
 29   David's Life Store                                   30    DGFSTM Golden Store
 31   DGFSTM Ultraman20 Store                              32    dins dine home
 33   DvnamicSales                                         34    DZ   Market Place
 35   evunso Store                                         36    Fabulous Toy Store
 37   FashT3 Tov Store                                     38    For CLA Store
 39   friendlv.olanet                                      40    GesikaiStore
 4L   eifts-eadsets2u                                      42    Gsandrew
 43   Hahaha123 Store                                      44    hansoi6156pai4
 45   Hieh Grade Babv Clothes Store                        46    Homefun Store
 47   HonsKons Taimi Tech Store                            48    HonsYM Store
 49   HotZoo Store                                         50    h-tov Store
 51   iclock Store                                         52    idream store
 53   inlovill kiss babv store                             54    tron-otng
 55   ive81808002qia0                                      56    JC TOYS   World Store
 57   iie xi laistore                                      58    iieshens 2015
 59   Jinchuang tov Store                                  50    iudv baby store
 61   JUYABEI OfficialStore                                62    JXL HOUSE DECOR Store

 63   kaitov2014                                           64    KareFarle0
 65   Kleane Store                                         66    LAMIUTOY Store
 67   Lavenus                                              68    LELE Partv supplies Store
 59   linke Store                                          70    LiZhiDa Store


                                                     32
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 71 | Lollopop toy Store                      72 I Maeic Children World Store
                                                    Mascot costume China Foreign Trade
 73    Masaki Ma Store                        74    Center
 75    mascot trade factory                   76    ME Partv Store
 77    MEILS Store                            78    MIJOYEE Costumes Kids LLC
 79    miriamtoystore                         80    mobokono 888 Store
 81    My Decor Art Store                     82    Necessary Thing
 83    Nice2 Toy Store                        84    no.10 toy store
 85    No.11" Tov Store                       86    Okus Babv Oline Store
 87    paebalhatime                           88    PandaBear Store
 89    PARSUP GOGOGO Store                    90    partv k Store
 91    Plavthinp Store                        92    pp tov store
 93    quality store store                    94    Remetov Store
 95    Ricud kid costume                      96    Rmingqugo
 97    Rose    toy Store                      98    rtm34Ltm
 99    Sam Store                             100    Sea Stone (HK) Co., Ltd
101    SHENZHEN HONGHAlStore                 1.02   Shop1904664 Store
103    Shop3249007 Store                     704    shop3250007 store
105    Shop3621124 Store                     106    Shop3625134 Store
107    Shop3669101 Store                     108    shoo3675087 store
109    Shop3893055 Store                     110    Shoo3934008 Store
1,LL   Shop3947003 Store                     L12 Shop4017008 Store
1,13   Shop4056003 Store                     Lt4    shop4056082 store
115    shop4078010 store                     115    Shop4184016 Store
1.17   Shoo4301013 Store                     118    shop-planet
L19    sivibei store                         L20    smart zvx babv store
L21    STEVEN JH StoTe                       L22 Stiven Store
L23    store no.373611                       L24 thirtv store
L25    toy 2017 Store                        126    TT Funny Store
L27    Twinkline Store                       128    twv668
729    wans14-98                             130    wsdudu happv world store
131    wuoran                                732 xc8665
133    xingyundeyangbo store                 734 xtu gu
r.35   yideashopping                         136    Zaham Discount
L37    zhixine686868 Store                   138    Zhomecos Store
L39    zhuangxiu store                       r40    21b88888 Store
!41,   vindd 9660



No.    Defendant Marketplace URL             No.    Defendant Marketplace URL
   1   e   bay.co m/u sr / L7 fly2OLI          2    AHUN4STBHETFV



                                        JJ
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 3    a   I   iexp ress. co m/sto re/3 28LO23             4   AWDXHYTXM3IBC
 5    a   I   iexp ress. c om / stor e / 2028060          6   a   liexpress.com/store/35 10010
 7    a   liexpress.com/sto rel1 9O542O                   8   a   I   iexp ress.c om / store / 337 3012
 9    a   liexpress.com/sto re/37        27   o22        10   a   I   iexpress. co m/sto rel3 68LO7 9
7L    a   liexpress.com/sto re/3 57 2OO8                 72   e   bay.co m/usr/ba bytoygift
13    a   I   iexp ress. c om / slore/ 351,4024          L4   a   I   iexpress. c om / stor e / 4056045
15    Merchant number - AINWJ352|YWBRG                   76   a   I   iexp ress. c om / stor e / 2O7 4O7
17    a   I   iexp ress.c om / stor e / 2488068          18   a   liexpress.com/sto re/3661001
19    A2XO9L542KORQJ                                     20   e   bav.co m /u     sr I   buv2O!724
21    ebay.com/usr/ca ndytrees                           22   a   liexpress.com/store/3663069
23    a   I   iexpress.com/store/36 19082                24   a   I   iexp ress.c om / sto r e / 1958434
25    a   I   iexpress.com/store/3653033                 26   a   liexpress.com/store/33 14003
27    a   liexpress.com/store/3898060                    28   ebay.com/usr/daii18
29    a   I   iexpress.c om / stor e / 1,682203          30   a   liexoress.com/store/3683001
31    a iexp ress. c om / slor e /
          I                           4204022            32   a   liexpress.c om / store / !832 180
33    AY4DUTN096N1X                                      34   Al.SQgUQEEN9JX
35    a   I   iexp ress. c om / stor e / 3663034         36   a   I   iexp ress. c om / stor e / 2232045
37    a   liexpress.com/sto rel3255015                   38   a   I   iexp ress. c om / store / 288527 9
39    e   bav.co m/usr/friend ly. pla net                40   a   I   iexpress.com/sto rel17 1O9O4
47    e   bay.co m/usr/gift s-eadgets2 u                 42   Merchant number - 43HSTF9FBSZGQP
43    a   I   iexpress.com/sto re/3 619L32               44   e   bay.com/usr/ha           ngq i6156pa i4
45    a   I   iexpress.com/store/3286003                 46   a   I   iexpress.com/sto re/3 2L6t52
47    a   I   iexp ress. co m/sto re/1 9 6397 7          48   a   I   iexpress.com/sto re/328954
49    a   I   iexpress.com/store/3 618029                50   a   I   iexpress.com/sto re/357 1030
51    a   liexpress.c om / store / L090358               52   a   I   iexp ress. c om I stor e / 4234022
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67    a   liexpress.com/sto re/3001051                   62   a   liexpress.com/store/3620081
63    ebay.com/usr/ka itoy2014                           64   AlY3FYAOE3NC8N
65    a   I   iexpress.com/store/1894008                 66   a   I   iexp ress.co m/sto re/3 5 t7 084
67    A35G4NFV6NDCqV                                     68   a   liexpress.com/store/33 10001
69    a   I   iexpress.co m/sto rel3 2t572O              70   a iexp ress.co m           / stor e I 3252109
71_   a   I   iexpress.com/store/3859078                 72   a       iexpress.com/store/4033054
73    a   I   iexpress.com/store/3 2431,76               74   a iexp ress. co m       / stor e / L44L255
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77    a   liexpress.com/store/3 187039                   78   A983Y20RCF096
79    ebay.com/usr/miria mtoystore                       80   a   I   iexp ress. c om / store / 2408 100
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83    a   I   iexpress.co m/sto rel3 255026              84   a   liexpress.com/store/35 18086


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 89    a   liexpress.com/store/3666090                   90    a   I   iexp ress.c om / store I 36 18108
 91    a   I   iexpress.c om / slor e / 2885 1 59        92    a   I   iexp ress.co m/sto re/3 669LO7
 93    a   I   iexo ress.com /sto re13 2L7 L42           94    a   liexpress.com/store/3563013
 95    A385IJMATV3ATP                                    96    A3T23PP8630M46
 97    a   I   iexpress.com/store/3850058                98    ebay.com/usr/rtm 341tm
 99    a   I   iexp ress.c om / sto re /7 27 9 45       100    a   liexpress.com/store/909816
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to7    a   liexpress.com/sto re/3669 101                108    a   I   iexp ress.co m/sto re/3 67 5087
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t2L    a   liexpress.com/store/3661095                  L22    a   liexpress.com/store/1 1848 13
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L29    e   bay.com/usr/wa ng14-98                       130    a   I   iexp ress. c om / stor e / 4233026
131    a   liexpress.com/sto re/193448L                 132 ebay.com/usr/xc8665
133    a   liexpress.com/sto re/3 627 L2L               134    a   liexpress.com/store/1480268
L35    e   bay.com/usr/yideashopping                    136    AXVUVXYKXOBM4
L37    a   liexpress.com/sto rel3906051-                138    a   I   iexp ress. co m/sto rel1 183443
139    a   I   iexpress.c om / stor e / 250L038         L40    a   liexpress.com/store/3856004
t47    e   bay.com/usr/yi ndd_9660
